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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     YUNTEK INTERNATIONAL, INC.,                      Case No. 20-cv-07201-JSW
                                                       Plaintiff,
                                   8
                                                                                          ORDER OF REFERRAL FOR REPORT
                                                 v.                                       AND RECOMMENDATION
                                   9
                                         XIAMEN JXD ELECTRONIC                            Re: Dkt. No. 93
                                  10
                                         COMMERCE CO., LTD., et al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On January 28, 2022, Yuntek International, Inc. filed a motion to strike in part Defendants’

                                  14   responsive damages contentions and set the motion to be heard on March 4, 2022.

                                  15          The Court HEREBY VACATES the hearing set for March 4, 2022, and it HEREBY

                                  16   REFERS the motion to Magistrate Judge Illman to prepare a Report and Recommendation on the

                                  17   motion. See N.D. Civ. Local Rule 72-1.

                                  18          IT IS SO ORDERED.

                                  19   Dated: February 1, 2022

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                                                                                      JEFFREY S. WHITE
                                  21                                                  United States District Judge
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